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                                                              August 25, 2022

         Via E-Mail Only
         Ilya Alekseyeff, Esq.
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                      Re:     Goldwater Bank, N.A. v. Artur Elizarov, et al.
                              U.S. District Court, Central District Case No. 5:21-cv-00616-JWH-SP
                              Mr. Elizarov’s Proposed Motion for Rule 11 Sanctions

         Dear Mr. Alekseyeff:

                Your meet and confer letter of August 26, 2022, fails to address the central problem with
         your proposed Rule 11 Motion – Goldwater’s amended verified complaint has merit.

                 Your proposed Rule 11 Motion, on behalf of Artur Elizarov, seeks the striking of allegations
         you claim are false, the dismissal of claims against Mr. Elizarov and the imposition of monetary
         sanctions. Yet, as discussed in our August 25, 2022, letter and below, Mr. Elizarov is not entitled to
         the extreme sanction of dismissal of Goldwater’s (legitimate) claims; Goldwater does not have an
         obligation to modify its pleadings to account for an allegation that is later discredited by evidence
         obtain through discovery; and Mr. Elizarov is not entitled to monetary sanctions because he has not
         incurred any attorneys’ fees.

                            GOLDWATER IS NOT OBLIGATED TO AMEND ITS PLEADINGS

                  As stated in our August 25, 2022, letter, Rule 11 does not impart a continuing certification by
         counsel as to the reasonableness of papers previously filed. (The Rule 11 certification applies only as
         of the time the papers are “presented” to the court.) Thus, parties cannot be sanctioned merely
         for failing to withdraw pleadings or papers previously filed after their lack of merit is discovered.
         (See Edwards v. General Motors Corp. (5th Cir. 1998) 153 F3d 242, 245.) Further, Committee Notes
         on Amendments to Federal Rules of Civil Procedure (1993) 146 FRD 401, 586-587, states:

                      Moreover, if evidentiary support is not obtained after a reasonable opportunity for
                      further investigation or discovery, the party has a duty under the rule not to persist with
                      that contention. Subdivision (b) does not require a formal amendment to pleadings for
                      which evidentiary support is not obtained, but rather calls upon a litigant not thereafter
                      to advocate such claims or defenses.



                                                                                                             Exhibit VV - 1
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Accordingly, Goldwater does not have an obligation to withdraw its pleading simply because you
argue some of the allegations lack factual merit.

        Moreover, you incorrectly state that I have failed to provide you authority for the position
that a Rule 11 should not be filed, or threatened, for minor, inconsequential violations of the
standards prescribed in Rule 11. However, my August 25, 2022, letter specifically quoted Committee
Notes on Amendments to Federal Rules of Civil Procedure (1993) 146 FRD 401, 590, which states:

        Rule 11 motions should not be made or threatened for minor, inconsequential
        violations of the standards prescribed by subdivision (b). They should not be employed
        as a discovery device or to test the legal sufficiency or efficacy of allegations in the
        pleadings; other motions are available for those purposes. Nor should Rule 11 motions
        be prepared to emphasize the merits of a party's position, to exact an unjust settlement,
        to intimidate an adversary into withdrawing contentions that are fairly debatable, to
        increase the costs of litigation, to create a conflict of interest between attorney and
        client, or to seek disclosure of matters otherwise protected by the attorney-client
        privilege or the work-product doctrine.

Your proposed motion that focuses on factual issues that are not determinative of any claim
inappropriately focuses on minor, inconsequential issues. For example, you argue Rule 11 sanctions
should be imposed against Goldwater because there is no evidentiary support for its allegation that
Mr. Elizarov failed to report that he was in default on a federal debt. However, assuming you are
correct, this does not resolve the fraud claim asserted against Mr. Elizarov (which claim is primarily
based on his fraudulent promise to repay Goldwater).


   MR. ELIZAROV IS NOT ENTITLED TO DISMISSAL OF GOLDWATER’S CLAIMS

        Your proposed Rule 11 Motion seeks, among other things, the dismissal of Goldwater’s
claims for fraud, conspiracy to commit fraud, fraudulent transfer, and unjust enrichment. However,
the extreme sanction of dismissal of Goldwater’s claims would not be appropriate in this situation.
Goldwater has not violated Rule 11, as its amended verified complaint asserts meritorious claims
based on sound legal theories.

        Nonetheless, even if Goldwater were to lose one of its claims against Mr. Elizarov, that
would not necessarily mean sanctions would be appropriate. Indeed, when a court examines a
motion for sanctions, it must resolve all doubts in favor of the signer of the pleading or paper. This is
required as the court must determine when the argument “turns from merely ‘losing’ to
losing and sanctionable.” (Associated Indem. Corp. v. Fairchild Indus., Inc. (2nd Cir. 1992) 961 F2d
32, 34 [emphasis in original].)

        Further, a single frivolous claim in an otherwise tenable action may not constitute a
“substantial” failure to comply with Rule 11(b): “We doubt that the statute meant for the district
court to presume that when a single claim in an action is frivolous, the proper sanction is reasonable
attorneys' fees and other expenses incurred in the entire action.” (Simon DeBartolo Group, L.P. v.
Richard E. Jacobs Group, Inc. (2nd Cir. 1999) 186 F.3d 157, 178.) Here, Goldwater’s tenable action
against Mr. Elizarov (based on his clear failure to repay the money he owes to Goldwater) does not
constitute a “substantial” failure to comply with Rule 11, even if Goldwater ultimately does not
succeed on one of its other claims.


                                                                                     Exhibit VV - 2
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        Even if the court were to find that Goldwater “substantially” failed to comply with Rule 11 (a
proposition Goldwater certainly opposes), Mr. Elizarov would not be entitled to the dismissal of
Goldwater’s claims. It is likely an abuse of discretion to order dismissal or default unless “a
party deceives a court or abuses the process at a level that is utterly inconsistent with the orderly
administration of justice or undermines the integrity of the court.” (United States v. Shaffer Equip.
Co. (4th Cir. 1993) 11 F3d 450, 462 (emphasis added); Halaco Engineering Co. v. Costle (9th Cir.
1988) 843 F2d 376, 380.) Goldwater has not deceived the court or abused any process and certainly
has not acted in a manner that is utterly inconsistent with the orderly administration of justice or
undermine the integrity of the court. Accordingly, Rule 11 does not entitled Mr. Elizarov to the
dismissal of Goldwater’s claims against him.

          Furthermore, as stated in our August 25, 2022, your proposed motion comes while discovery
is still ongoing. Goldwater should be allowed “to litigate [its] case on the merits, and thus, sanctions
for bringing a frivolous lawsuit [would be] inappropriate.” (Leveski v. ITT Educational Services,
Inc. (7th Cir. 2013) 719 F.3d 818, 839-840.)

        There are a number of facts stated in your motion that are still in dispute. For example, you
argue: “On March 25, 2021, Elizarov discovered that Goldwater had never recorded the deed of trust
nor given Elizarov notice of Goldwater’s intent to require the immediate payment of the loan.
Consequently, Elizarov refused to repay the loan and insisted on paying down the loan according to
the existing amortization schedule under the note.” (Memo., p. 4, ll. 23-27.) Goldwater disagrees
with this statement entirely, but, more importantly, Elizarov cannot base a Rule 11 motion on
unresolved issues.

         “Rule 11 is an extraordinary remedy, one to be exercised with extreme caution. Such
sanctions can have an unintended detrimental impact on an attorney's career and personal well-
being.” (Conn v. Borjorquez (9th Cir. 1992) 967 F2d 1418, 1421.) Because of the potentially chilling
effect on innovative lawyering, sanctions are reserved “for the rare and exceptional case where the
action is clearly frivolous, legally unreasonable or without legal foundation, or brought for an
improper purpose.” (Operating Engineers Pension Trust v. A-C Co. (9th Cir.1988) 859 F2d 1336,
1344 [emphasis added].) Here, Goldwater’s claims against Mr. Elizarov are not frivolous, legally
unreasonable, without legal authority or brought for an improper purpose. There is no basis for
imposing Rule 11 sanctions against Goldwater


                     MONETARY SANCTIONS ARE NOT APPROPRIATE

       Goldwater obviously believes that no sanctions are appropriate. However, it is clear that
monetary sanctions are unwarranted.

        To warrant monetary sanctions, it must be shown that the improper claims or
allegations increased the cost of litigation to the opposing party: “The district court was within its
discretion in imposing Rule 11 sanctions as to a single count of a multiple count complaint, where
the effect and cost of that count could be separated from that of the other counts.” (Patterson v.
Aiken (1988) 841 F.2d 386, 387 (emphasis added); see Committee Notes on Amendments to Federal
Rules of Civil Procedure (1993) 146 FRD 401, 588.)

        Moreover, because fees awards under Rule 11 are limited to fees “incurred” as the result of
a Rule 11 violation, no award may be ordered in favor of a litigant who does not incur any fees:
“[W]here a lawyer represents himself, legal fees are not truly a ‘cost’ of litigation—no independent

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lawyer has been hired (or must be paid).” (Massengale v. Ray (11th Cir. 2001) 267 F.3d 1298, 1303.)
Here, you admit that you are providing free services to Mr. Elizarov. Accordingly, monetary
sanctions are not appropriate.

         Your reliance on Legal Voice v. Stormans, Inc. (9th Cir. 2014) 757 F.3d 1015, 1017, is
misplaced. That case concerns a party’s ability to collect attorney’s fees pursuant to a discovery
statute defending an appeal, particularly since the fees were allowed at the trial court level. Nothing
in that case stands for the proposition that a party who has not experienced an increase in the costs of
litigation (because that party has free representation) would be entitled to monetary sanctions under
Rule 11.

         YOU WRONGFULLY INCLUDE MR. LEVOTA IN THE RULE 11 MOTION

        In your August 26, 2022, letter you admit that Mr. LeVota did not sign the verified amended
complaint at issue in your proposed Rule 11 motion. Yet, you seek to continue to include Mr.
LeVota in the motion because he defended the complaint by putting his name and signature on filings
opposing the motion to dismiss. However, your proposed Rule 11 Motion does not mention the
opposition to the motion to dismiss, and more importantly, Mr. LeVota’s signature is not on
Goldwater’s opposition to Mr. Elizarov’s motion to dismiss.

         You have failed to identify any reason for your inclusion of Mr. LeVota, as Rule 11 is limited
to “pleadings, written motions and other papers” filed with the court. It does not apply to other
litigation conduct. (FRCP 11(b); Christian v. Mattel, Inc. (9th Cir. 2002) 286 F3d 1118, 1131.)

                                           CONCLUSION

          There is no question that Mr. Elizarov had an obligation to repay Goldwater and that Mr.
Elizarov promised Goldwater that it would be paid out of the sale proceeds. Equally, there is no
question that Mr. Elizarov has not repaid Goldwater as promised and instead purchased a house in
Florida as part of an effort to hinder Goldwater’s collection of the debt owed by Mr. Elizarov.
Goldwater has asserted various claims based on Mr. Elizarov’s wrongful actions that are support by
fact and law. Accordingly, there is no basis for Mr. Elizarov to threaten or bring a Rule 11 Motion –
it is a friviolous motion that appears to be brought for the improper purpose of (at a minimum)
unnecessarily increasing the costs of litigation. If you bring the proposed Rule 11 motion, we will be
forced to seek sanctions against you for having to oppose the motion. (FRCP 11(c)(2).)

                                                Best Regards,


                                                Joseph LeVota
JAL:eg




                                                                                    Exhibit VV - 4
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Dear Counsel:

Please disregard the previous email transmitting a letter from Mr. LeVota and destroy the letter attached
to that email. I unintentionally sent you the wrong draft of his letter. The correct letter is attached. Please
let me know if you have any questions.


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                                                                                                    Exhibit VV - 5
